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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 WILMER CUTLER PICKING HALE AND
 DORR LLP,

                Plaintiff,

 v.                                                  Case No. 1:25-cv-917-RJL

 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

                Defendants.

                       EXPERT REPORT OF J. WILLIAM LEONARD

       I, J. WILLIAM LEONARD, declare as follows:

       1.      I have agreed to testify pro bono as an expert witness in the above matter based

upon the expertise I developed during the course of a 34-year career as a Federal public servant in

the national security arena and more than 50 continuous years of experience as a cleared individual.

I.     BACKGROUND AND CREDENTIALS

       2.      I was employed by the Department of Defense (“DoD”) from 1973 to 2002. My

entire tenure involved the area of Personnel Security. For the first 23 years of my career, I served

in various roles of increasing responsibility at the Defense Investigative Service, which was the

precursor to today’s Defense Counterintelligence and Security Agency. See https://www.dcsa.mil/.

In these roles I had operational responsibilities in the DoD’s program providing oversight to private

sector entities, to include defense contractors and law firms, and their employees who required

access to classified national security information. From 1992 to 1996, I served as the Assistant

Deputy Director at the Defense Investigative Service, where I was responsible for a wide range of

policy and operational matters pertaining to the DoD’s administration of the National Industrial

Security Program (“NISP”). See https://www.dcsa.mil/Industrial-Security/National-Industrial-



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Security-Program-Oversight. The NISP is the federal program that manages the access of private

industry to classified information. Among other things, I was responsible in that role for the Field

Services Division, the Counterintelligence Office, and all overseas operations of the Defense

Investigative Service in Europe, the Middle East, Central and South America, and the Far East.

My responsibilities included reviewing submittals to the Office of the Secretary of Defense

recommending the suspension of personnel security clearances of private sector individuals when

appropriate.

       3.      From 1996 to 1998, I served as the Director of Security Programs for the DoD, and

from 1999 to 2002, I served at times as the Deputy Assistant Secretary of Defense (“DASD”)

responsible for security and information operations, and at other times as the Principal Director in

that office. As the DASD, I was the most senior official in the DoD responsible for all security,

counterintelligence, computer security, infrastructure protection, and information operations

programs within the DoD. Part of my responsibility at the Pentagon was to develop and oversee

policies to ensure the proper protection of classified information within the entirety of the DoD as

well as within private sector entities that did business with the DoD. These policies included the

granting, revocation, and suspension of personnel security clearances for military and civilian

members of the DoD and for employees of DoD-affiliated private sector entities, to include law

firms, that required access to classified national security information. As DASD, I was the final

authority resolving matters relating to security clearance issues. In 2002, I was a recipient of the

Presidential Meritorious Rank, an award that recognizes a select group of career members of the

Senior Executive Service (“SES”) for exceptional performance over an extended period of time.

       4.      From 2002 to January 2008, I served as the Director of the Information Security

Oversight Office (“ISOO”) during the Administration of President George W. Bush.              ISOO




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receives its policy and program guidance from the National Security Council and is an

administrative component of the National Archives and Records Administration.                    See

https://www.archives.gov/isoo.        The Director of ISOO is known colloquially as the

“Classification Czar” because the Director is responsible for oversight of the government-wide

classification system and aspects of the security clearance process. I was appointed to this position

with the approval of President Bush, and in this role I oversaw the entire Executive Branch’s

classification and handling of classified national security information.

       5.      The Director of ISOO has authority to access more classified information than

anyone in the government other than the President and Vice President. As the Director of ISOO,

I was the primary official charged with the responsibility to ensure that all Executive Branch

agencies properly classified and declassified national security information and appropriately

granted and restricted access to classified national security information in accordance with

established policy.   To that end, I had a primary role in the drafting, editing, and issuance by

President George W. Bush of Executive Order 13292 (2003), which amended Executive Order

12958 (1995), and established the Federal government’s policies with respect to classifying,

safeguarding, and declassifying national security information.

       6.      As the Director of ISOO, I was also the primary official charged with the

responsibility to ensure that Executive Branch agencies appropriately implemented the NISP. The

NISP policies that I oversaw included policies around the granting, revocation, and suspension of

personnel security clearances for employees of private sector firms that required access to

classified national security information in support of Executive Branch agencies or in working

with other cleared private sector entities.




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       7.      In my various capacities with the Federal government, it was my responsibility on

a regular basis to recommend and/or determine whether security clearances should be granted,

suspended, or revoked, and whether information which an agency sought to classify or keep

classified met the appropriate classification criteria.

       8.      Between 2008 and 2010, I served as the principal of my own consulting firm

advising on security issues related to national defense, homeland security, and counterintelligence.

My area of expertise included the investigation and adjudication of personnel security clearances;

assessments of the foreign ownership, control, and influence of cleared U.S. defense industry; and

the protection of critical infrastructures. I also served as an adjunct professor of political science

at St. Mary’s College of Maryland.

       9.      Between 2010 and 2019, I served as the Chief Operating Officer of the National

Endowment for Democracy, a nongovernmental, nonprofit foundation dedicated to the growth and

strengthening of democratic institutions around the world.

       10.     While I am retired from full-time employment, I currently serve as a member of the

board of directors for a company cleared by the DoD under the terms of a special security

agreement.    In this capacity, I am required to retain a personnel security clearance, and my

responsibilities include ensuring that the cleared firm and its personnel properly safeguard

classified information as well as ensuring that the firm’s foreign-owned parent is precluded from

accessing classified and other sensitive U.S. Government information. As such, I have remained

abreast of all official policy and requirements for the protection of classified national security

information, as well as the standards for approving, suspending, denying, or revoking security

clearances. I have been continuously cleared (i.e., have held an active security clearance) at all

times between 1973 and the present.




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       11.     I hold a Master of Arts degree in International Relations from Boston University

and a Bachelor of Arts degree in History from Saint John’s University.

II.    RETENTION IN THIS MATTER AND RELATED DISCLOSURES

       12.     In April 2025, I was approached by counsel to Wilmer Cutler Pickering Hale and

Dorr LLP (“WilmerHale”) to discuss this case, which relates to Executive Order 14250 entitled

“Addressing Risks from WilmerHale,” 90 Fed. Reg. 14549 (March 27, 2025) (“WilmerHale

Executive Order”). More specifically, I was asked to address the portions of the WilmerHale

Executive Order that purport to direct the immediate suspension and review of any security

clearances held by any WilmerHale partner or employee, and the portions of the WilmerHale

Executive Order that address “national security.” After reviewing the WilmerHale Executive

Order, I agreed to offer the opinions in this report in the capacity of an expert witness based on my

experience and credentials above. I am doing so without compensation, as my sole motivation for

involvement in this present matter is my concern for the integrity of the processes around security

clearances, a key tool intended to safeguard the security of our nation and the American people. I

have devoted the great majority of my professional career to the protection of our national security

through rigorous application of fair criteria determining (1) what information should be classified

and (2) which individuals are entitled to access to such information, and on what terms.

       13.     In the years since my retirement from public service, I have served as a pro bono

expert in several prior court proceedings, including in the parallel litigation against Executive

Order 14230, entitled “Addressing Risks from Perkins Coie LLP,” 90 Fed. Reg. 11781. See

Perkins Coie LLP v. U.S. Department of Justice, Dkt. 39-8, No. 1:25-716 (D.D.C.).           In all such

instances, as in this case, I have made it clear to the counsel that I would become involved in their

case not as an advocate for a party but rather as an advocate for the integrity of the national security

classification and clearance systems.


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        14.    A list of publications that I have authored in the last ten years is attached as Exhibit 1.

I have not testified in any case as an expert at trial or by deposition in the last four years.      The

facts or data I have considered in forming my opinions are set forth in Section III below.

III.    SUMMARY OF RELEVANT FACTS

        A.     Executive Order 14250 And The Related Fact Sheet

        15.    On March 27, 2025, President Donald Trump issued Executive Order 14250,

entitled “Addressing Risks from WilmerHale.” 90 Fed. Reg. 14549. The WilmerHale Executive

Order was accompanied by a “Fact Sheet.” Fact Sheet: President Donald J. Trump Addresses

Risks from WilmerHale, The White House (Mar. 27, 2025), https://www.whitehouse.gov/fact-

sheets/2025/03/fact-sheet-president-donald-j-trump-addresses-risks-from-wilmerhale.                  The

following points in the WilmerHale Executive Order and Fact Sheet are relevant to this report.

        16.    Section 1 (“Background”).           Section 1 sets out the “Background” of the

WilmerHale Executive Order. The first paragraph of Section 1 does not name WilmerHale, but

describes the Trump Administration’s general “commit[ment] to addressing the significant risks

associated with law firms.” It states that “[m]any firms take actions that threaten public safety and

national security,” concluding that these law firms “should not have access to our Nation’s secrets.”

        17.    The second paragraph of Section 1 characterizes certain work undertaken by

WilmerHale as “engag[ing] in obvious partisan representations to achieve political ends,

support[ing] efforts to discriminate on the basis of race, back[ing] the obstruction of efforts to

prevent illegal aliens from committing horrific crimes and trafficking deadly drugs within our

borders, and further[ing] the degradation of the quality of American elections, including by

supporting efforts designed to enable noncitizens to vote.” This paragraph also states that

WilmerHale “discriminates against its employees based on race and other categories prohibited by




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civil rights laws,” and uses “race-based ‘targets.’” This paragraph does not mention specific cases

or clients of WilmerHale’s, nor does it refer to “national security.”

       18.     The third paragraph of Section 1 singles out Robert Mueller, James Quarles, and

Aaron Zebley for their Federal government work investigating Russian interference in the 2016

election. I understand that Messrs. Mueller and Quarles are retired WilmerHale partners, and Mr.

Zebley is a current WilmerHale partner. I understand that their work in the Special Counsel’s

Office was entirely distinct from and unrelated to WilmerHale. Robert Mueller was appointed to

serve as Special Counsel during President Trump’s first term by Acting Attorney General Rod J.

Rosenstein. See Order No. 3915-2017, Office of the Deputy Attorney General (May 17, 2017),

https://www.justice.gov/archives/opa/press-release/file/967231/dl.      As Special Counsel, Mr.

Mueller worked under the appointment, direction, funding, and supervision of the Acting Attorney

General and later Attorney General Bill Barr. Messrs. Quarles and Zebley worked in Special

Counsel Mueller’s office.       Section 1’s third paragraph characterizes the special counsel

investigation into Russian interference as “one of the most partisan investigations in American

history” that “epitomizes the weaponization of government,” specifically the use of “prosecutorial

power to upend the democratic process and distort justice.” This paragraph does not mention

“national security.”

       19.     Section 2 (“Security Clearance Review”).           Section 2(a) of the WilmerHale

Executive Order directs the Attorney General, the Director of National Intelligence, and “all other

relevant heads of executive departments and agencies” to “immediately … suspend any active

security clearances held by individuals at WilmerHale,” to be followed by a “review of whether

such clearances are consistent with the national interest.” This last phrase is notable, in that there

is no reference in Section 2(a) to “national security,” only to “the national interest” (a phrase that




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appears in Section 2(a) but nowhere else in the WilmerHale Executive Order).          Also notable in

Section 2(a) is the blanket directive to suspend all active security clearances held by any person

working at WilmerHale, a firm that I understand employs over 2,000 people, almost 1,200 of whom

are attorneys. I discuss both of these noteworthy features of Section 2(a) below.

       20.        Section 2(b), which also falls under the header of “Security Clearance Review,”

directs the Office of Management and Budget to “identify all Government goods, property,

material, and services, including Sensitive Compartmented Information Facilities, provided for the

benefit of WilmerHale,” and to cease such provision.

       21.        Sections 3 and 4. I do not address Section 3 (“Contracting”) or Section 4 (“Racial

Discrimination”) of the WilmerHale Executive Order in this report, as neither of those sections

addresses security clearances nor do they contain any reference to or discussion of “national security”

in any respect.

       22.        Section 5 (“Personnel”). Section 5 (“Personnel”) contains two subsections. First

Section 5(a) directs all Federal agency heads to limit the access of WilmerHale employees to

Federal buildings “when such access would threaten the national security of or otherwise be

inconsistent with the interests of the United States.” Section 5(a) also directs Federal agency heads

to limit Federal employees in their official capacity “from engaging with WilmerHale employees

to ensure consistency with the national security and other interests of the United States.”

       23.        Second, Section 5(b) directs Federal Officials to refrain from hiring any

WilmerHale employee into Federal service unless a waiver is obtained establishing “that such hire

will not threaten the national security of the United States.”

       24.        Section 5 (“Personnel”) thus contains three references to “national security,” while

Section 2 (“Security Clearance Review”) contains none.




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       25.     Section 6. Lastly, Section 6 of the WilmerHale Executive Order contains various

general provisions common in such orders, such as directing that the order be implemented

consistent with the law.

       26.     The Fact Sheet. By and large, the Fact Sheet is consistent with the WilmerHale

Executive Order. It begins with a section entitled “Suspending Security Clearances To Protect The

National Interest,” which restates that “[s]ecurity clearances held by WilmerHale employees will

be immediately suspended, pending a review of whether their access to sensitive information is

consistent with the national interest.” It includes the notable phrase “the national interest” and the

absence of reference to national security, and also addresses aspects of the WilmerHale Executive

Order relating to government contracting.

       27.     The Fact Sheet’s section entitled “Addressing Rogue Law Firms” restates the

allegations in Section 1 (“Background”) of the WilmerHale Executive Order. The Fact Sheet’s

final section, entitled “A Return To Accountability,” broadly describes President Trump’s “promise

to end the weaponization of government and protect the nation from partisan and bad faith actors

who exploit their influence.”

       B.      Security Clearances Held By WilmerHale Personnel

       28.     Based on representations by counsel, I understand the following to be undisputed

facts related to the security clearances currently held by WilmerHale personnel.

               a.      At the time the WilmerHale Order was issued, more than 20 WilmerHale

                       personnel held security clearances, and at least 5 of those WilmerHale

                       personnel held active security clearances in connection with their service as

                       military reservists.

               b.      Most of these personnel are military veterans or reservists, or are former

                       public civil servants, in either case initially entrusted with access to


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                      sensitive information by virtue of their prior public service employment, as

                      opposed to their work at WilmerHale.

               c.     The clearances of WilmerHale personnel were issued by the Department of

                      Defense, Department of Justice, Department of State, Central Intelligence

                      Agency, National Security Agency, and other elements of the Intelligence

                      Community.

               d.     The majority of WilmerHale personnel holding active security clearances

                      had no involvement in any of the matters referenced in the WilmerHale

                      Executive Order or the Fact Sheet.

               e.     Many security clearance holders received their clearance before being hired

                      by WilmerHale.

               f.     WilmerHale does not now maintain a Sensitive Compartmented

                      Information Facility (SCIF).

IV.    BACKGROUND PRINCIPLES ON SECURITY CLEARANCES

       A.      The Rules And Principles Governing The Security Clearance Review Process

       29.     Executive Order 12968, which established the protocols governing access to

classified information to include provisions for due process, has remained in effect since it was

issued nearly thirty years ago by President Bill Clinton. Access to Classified Information, 60 Fed.

Reg. 40245 (Aug. 2, 1995). The protocols in Executive Order 12968 have been subject to minor

amendments since then, the most substantive ones being the designation of the Director of National

Intelligence as the “Security Executive Agent” by virtue of Executive Order 13467, Reforming

Processes Related to Suitability for Government Employment, Fitness for Contractor Employees,

and Eligibility for Access to Classified National Security Information, which was issued by

President George W. Bush on June 30, 2008, and the initiation of continuous vetting procedures


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through Executive Order 13764 that President Barack Obama signed on January 17, 2017. None

of the subsequent amendments or policy modifications have impacted the core principles of due

process that were created in Executive Order 12968.

          30.   The protocols established by Executive Order 12968 are aimed at ensuring that the

protection of the nation’s classified information is consistent with “providing fair and equitable

treatment to those Americans upon whom we rely to guard our national security.” 60 Fed. Reg. at

40245. A hallmark of the process, therefore, is that it is an individualized one. The touchstone of

that individualized review is whether clearance is consistent with the “national security interest”

of the United States. “National security,” meanwhile, is defined both in the United States Code

and in Executive Order 13526, Classified National Security Information (Dec. 29, 2009), as “the

national defense and foreign relations of the United States.” 10 U.S.C. §801(16); 75 Fed. Reg.

707, 729 (Jan. 5, 2010) (identical definition in Executive Order 13526, except using the disjunctive

“or”).1

          31.   Pursuant to Executive Order 12968, an individual may not access classified

information unless (1) that individual has been “determined to be eligible” for access, (2) that

individual has signed a nondisclosure agreement, and (3) that individual has a “demonstrated need-

to-know” for the information at issue. 60 Fed. Reg. at 40246. Access to classified information

is generally granted (with limited and defined exceptions) only to individuals “who are United



1
  For most of the WilmerHale personnel holding security clearances, particularly those whose
clearances are held through their military status or their former civilian public service, their due
process rights are derived from Executive Order 12968. There are other executive orders and
subordinate directives and regulations that touch upon personnel vetting that are not discussed
here. While some of these may reference “national interest” instead of “national security interest,”
the governing executive order (12968) and the national adjudicative guidelines for security
clearances, which are discussed in more detail below, explicitly rely upon the term “national
security interests.”



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States citizens for whom an appropriate investigation has been completed and whose personal and

professional history affirmatively indicates loyalty to the United States, strength of character,

trustworthiness, honesty, reliability, discretion, and sound judgment, as well as freedom from

conflicting allegiances and potential for coercion, and willingness and ability to abide by

regulations governing the use, handling, and protection of classified information.” Id. at 40250.

The determination of eligibility for access to such information is to be “based on judgments by

appropriately trained adjudicative personnel.” Id.

         32.    The security clearance process is a critical tool in keeping our nation and its citizens

safe. For it to be effective, it is to be implemented in a “fair and equitable” manner and through a

“uniform … program.” Id. at 40245.

         33.    To ensure that this national security tool (i.e., the individualized security clearance

process) is implemented in a fair and equitable manner and through a uniform program, the

Director of National Intelligence (“DNI”), under the authority of Executive Order 13467

referenced above and in furtherance of Executive Order 12968, issued DNI Security Executive

Agent Directive 4 (“SEAD-4”), National Security Adjudicative Guidelines, on June 8, 2017,

during the prior Administration of President Donald Trump. This Directive establishes the criteria

to be used by all Federal government agencies authorized to render a determination for initial or

continued eligibility of an individual to access classified information. Off. of the Dir. of Nat’l Intel.,

Security Executive Agent Directive 4: National Security Adjudicative Guidelines (2017),

https://www.dni.gov/files/NCSC/documents/Regulations/SEAD-4-Adjudicative-Guidelines-

U.pdf.

         34.    Pursuant to SEAD-4, an individual’s eligibility for a security clearance turns on

whether that individual’s access to classified information is “clearly consistent with the national




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security interests” of the United States. Id. at 5. The adjudicative process is intended to be an

examination of the “whole person,” meaning an examination of “a sufficient period and careful

weighing of a number of variables of an individual’s life,” in order to make an affirmative

determination that the individual is an acceptable security risk.    Id. at 6 (“the whole-person

concept”).   The adjudicative policy states unambiguously that for every individual seeking a

security clearance, each such individual “case must be judged on its own merits.” Id. To perform

that adjudication, an individual’s personal conduct in the following thirteen areas are taken into

account: allegiance to the United States (Guideline A), foreign influence (Guideline B), foreign

preference (Guideline C), sexual behavior (Guideline D), personal conduct (Guideline E), financial

considerations (Guideline F), alcohol consumption (Guideline G), drug involvement and substance

misuse (Guideline H), psychological conditions (Guideline I), criminal conduct (Guideline J),

handling protected information (Guideline K), outside activities (Guideline L), and use of

information technology (Guideline M).      Id.    The guidelines also state that in evaluating the

relevance of an individual’s conduct with respect to any of the above guidelines, the recency of

that conduct is a key element to be taken into account. Id.

       35.     In light of the above, the granting, suspending, and revoking of security clearances

is a highly individualized process that involves a close and detailed factual analysis of the

individual in question and provides any individual subject to this analysis with significant due

process protections. Before any security clearance is granted, denied, or revoked, the appropriate

investigative agency must conduct an investigation of the individual to the required scope. This

investigation addresses the factors outlined in the above adjudicative guidelines outlined in

Directive 4, pursuant to Executive Order 12968.




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       36.     Following the appropriate investigation, should an applicant be denied a clearance

or should a cleared individual’s clearance be revoked, that individual is entitled to the due process

considerations set forth in Executive Order 12968. The standard due process provisions that are

followed within the Executive Branch whenever an individual’s security clearance is denied or

revoked include the following: (1) a comprehensive and detailed written explanation for the denial

or revocation; (2) appropriate access to documents, records, and reports upon which the denial or

revocation is based; (3) the right to be represented by counsel; (4) the opportunity to respond in

writing; (5) a written notice of and the reasons for the results of the review, the identity of the

deciding authority, and written notice of the appeal; and (5) the opportunity to appeal in writing

and in some instances in person to a higher level of review. See 60 Fed. Reg. at 40252-53 (Part

5—Review of Access Determinations).

       B.      Relevant History Regarding The Security Clearance Review Process

       37.     The above-described security-clearance processes set out by Executive Order

12968 and expanded through SEAD-4, and the due process protections afforded individuals as part

of the same, are an outgrowth of an earlier period of our nation’s history when such rights were

not present and the security clearance process was abused. As illustrated by the well-known case

of Robert Oppenheimer, it was not unusual in the immediate aftermath of World War II for groups

of persons to have their security clearances denied, revoked or suspended solely based upon their

membership in disfavored organizations or upon their association with other known members of

such organizations.

       38.     In 1947, then-Attorney General Tom Clark released the “Attorney General’s List of

Subversive Organizations.”     As its name implies, this list was intended to compile organizations

deemed to be subversive by the U.S. government. The list included 50 organizations ranging from

Communist Party USA and the Ku Klux Klan to organizations such as the National Negro


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Congress and the Washington Book Shop Association. Many Americans had signed petitions or

become members of such groups, often not understanding their true nature or the consequences of

affiliation.   The Attorney General’s List was eventually incorporated by then-President Harry

Truman into Executive Order 9835, which established the first federal employee loyalty program.

See 12 Fed. Reg. 1935 (Mar. 25, 1947). Executive Order 9835 was in turn superseded by President

Dwight Eisenhower’s Executive Order 10450 in 1953, which updated the Attorney General’s List

and expanded the criteria for determining trustworthiness and reliability for purposes of a security

clearance.     Security Requirements for Government Employment, 18 Fed. Reg. 2489 (Apr. 27,

1953).    In 1959, the Supreme Court decided the landmark case Greene v. McElroy, holding in

relevant part that the revocation of the plaintiff’s security clearance as a defense contractor on the

grounds of alleged Communist associations and sympathies was unlawful in that the plaintiff “was

not afforded the safeguards of confrontation and cross-examination.” 360 U.S. 474, 508 (1959).2

         39.    It was the Supreme Court’s decision in Greene that led to the establishment of due

process provisions for the individualized granting, denial, or revocation of security clearances for

contractors, which due process provisions continue to this day. Due process provisions were first

adopted for defense contractors through President Eisenhower’s Executive Order 10865 in 1960,

and similar due process provisions were codified in 1995 by President Clinton in Executive Order

12968 (“Access to Classified Information”) to cover civil servants and military personnel. These

protections have remained unchanged through five successive administrations, including President

Trump’s prior Administration between 2017 and 2021. Executive Orders 10865 and 12968 as well



2
  Greene stands for the proposition that due process applies to security clearances. 360 U.S. 474.
There, neither Congress nor the President authorized the constitutionally deficient procedures. Id.
at 508. The Court declined to opine on the constitutionality of those procedures had they been set
out in legislation or an executive order. Id.



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as SEAD-4 remain the current governing policy for granting, denying, and revoking personnel

security clearances.3 There is no language within the WilmerHale Executive Order that indicates

it is superseding, revoking or modifying the protections set forth in any of the prior Executive

Orders or governing due process requirements.

       C.      The Process For Suspending Or Revoking A Security Clearance

       40.     Existing policy recognizes that emergency situations may arise where an individual

security clearance must be suspended before the completion of all of the due process provisions

outlined above. 60 Fed. Reg. at 40252-53 (Part 5—Review of Access Determinations); see also

SEAD-4 at 7. Specifically, an individual’s security clearance can be suspended for cause when

information relative to any of the adjudicative guidelines exists and raises a serious question as to

the individual’s ability or intent to protect national security information.

       41.     Throughout my career I have frequently either recommended or approved the

suspension of an individual’s clearance.     In every case, as well as every other suspension I am

aware of (whether or not personally involved in the related recommendation or approval), any such

suspension was based upon the individual’s conduct.        I am not aware of any instance when an

individual’s security clearance has been suspended for reasons other than the individual’s own

conduct. Furthermore, in every case in which I was personally involved or am otherwise aware

of, there existed a reasonable basis for concluding that the individual’s continued access to

classified information posed an imminent threat. For example, if a person with a security clearance


3
  Executive Order 12968 allows for narrow instances when due process may be limited because
the required procedure cannot occur “without damaging the national security interests of the
United States by revealing classified information.” 60 Fed. Reg. at 40252. This provision might
be invoked, for example, when a government employee or contractor is charged with espionage
for a foreign power. But this limited due process section is inapplicable here, including because
the required certification has not been made and because there has been no determination that full
due process would itself compromise national security by revealing classified information.



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is arrested for a serious crime that calls into question the individual’s honesty or trustworthiness,

such that a new investigation is needed, an emergency suspension of a security clearance may be

issued pending final result of the new investigation.      In the vast majority of cleared defense

contractor cases where the government is seeking to revoke an individual’s security clearance for

conduct issues, that individual maintains their access and eligibility throughout the process, which

could take years.

       42.     Importantly, whenever an individual’s security clearance is suspended, the

government entity that granted the clearance is obligated to notify the individual in writing and to

provide that individual with a statement of reasons as to why access to classified information has

been suspended.

       43.     The suspension process is followed, as appropriate, either with reinstatement of

access to classified information or with a revocation process that affords the established processes

and due process protections outlined above.

V.     OPINIONS

       A.      Opinion 1: The Blanket Approach Of The WilmerHale Executive Order Is
               Inconsistent With Governing Policy Requiring Individualized Assessments.

       44.     As described above in Section IV, in order to ensure that clearance procedures

“provid[e] fair and equitable treatment to those Americans upon whom we rely to guard our

national security,” 60 Fed. Reg. at 40245, the process is always based upon the personal conduct

of the relevant individual.   That is one of the fundamental hallmarks of the security-clearance

review process; Person A is never held accountable for the conduct of Person B, let alone are

Persons 1 through 2,000 held accountable for the conduct of formerly-associated Person 2,001.

       45.     The WilmerHale Executive Order violates these bedrock principles of the security-

clearance review process because it provides no individualized assessment of personal conduct in



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the suspension of clearances. The WilmerHale Executive Order contains no mention of, let alone

any individualized assessment of the WilmerHale personnel who currently hold security clearances.

The only common feature as to those individuals is that they all currently work at WilmerHale, yet

the WilmerHale Executive Order directs the immediate suspension of all clearances regardless of

whether that clearance derived from work related to WilmerHale, regardless of whether that

clearance had anything to do with any factual finding in the WilmerHale Executive Order, and

regardless of when that individual was hired at WilmerHale.

       46.     Simply put, a blanket suspension of all security clearances at a law firm of over

2,000 employees, including approximately 1,200 attorneys, was—prior to March 2025—

unprecedented in its scope and fundamentally inconsistent with existing authority addressing the

processing, granting, and revocation of security clearances.     The ad hoc directive in this case

harkens back to the repudiated and discredited programs that existed before Greene v. McElroy,

including during the Red Scare.      The arbitrary directive of immediate suspension of security

clearances not for any personal conduct by any clearance holder but rather simply for that

individual’s association with a law firm is no different analytically than if a directive were issued

to immediately suspend the security clearances of all Jews or Muslims, all members of the

LGBTQ+ community, all women, or all registered Democrats or Republicans.

       47.     These types of non-individualized, mass suspensions of security clearances targeted

at groups of individuals threaten to harm our national security efforts.    Should individuals who

otherwise meet the standards be summarily denied or stripped of their security clearance through

these types of sweeping, blanket decrees addressed at entire classes of thousands of persons or

more at once, the resulting uncertainty that would spread throughout the system may severely




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impact the effectiveness of our military, intelligence and diplomatic capabilities to deter or

otherwise respond to our nation’s adversaries.

       B.      Opinion 2: The WilmerHale Executive Order Is Unprecedented In Its
               Invocation of Facially Stale Information And Conduct Unrelated To National
               Security.

       48.     The WilmerHale Executive Order is also contrary to the foundational principles

surrounding the granting, suspension, denial, or revocation of security clearances, as set forth in

existing and operative policy documentation that have existed for decades, in that the stated

reasons for the suspension of the security clearances do not have any apparent nexus to national

security concerns.   As I explained in Section IV, the touchstone of the individualized security-

clearance review is whether clearance is consistent with the “national security interest” of the

United States, which is defined as “the national defense and foreign relations of the United States.”

       49.     Here, however, the WilmerHale Executive Order—and in particular Section 2 of

the WilmerHale Executive Order related to security clearances—makes clear it has nothing to do

with national security. For example, the WilmerHale Executive Order faults WilmerHale for its

“degradation of the quality of American elections.” By this characterization, I understand the

WilmerHale Executive Order to refer to the fact that WilmerHale represented a number of clients

opposing then-candidate Trump’s challenges to the result of the 2020 Presidential Election (in

almost all instances, I am told, with successful outcomes). In my more than three decades of

service culminating as the most senior public servant focused professionally on the protection of

United States classified information, I have never seen any security clearance determination that

was based on the fact that an attorney represented clients in election-related litigation (or other

litigation challenging the policies of an administration), and I can see no reasonable construction

of such activity as being a matter of “national security” as that term is defined and understood. As

another example, the WilmerHale Executive Order states that WilmerHale “supports efforts to


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discriminate on the basis of race,” in what I am told is an apparent reference to WilmerHale’s

representation of Harvard University in Students for Fair Admissions, Inc. v. President & Fellows

of Harvard College, No. 20-1199 (U.S.). Again, in my decades of experience I have never seen a

security clearance determination based on an attorney representing clients in litigation, and I can

see no reasonable construction of “national security” that would encompass such activity.

Tellingly, Section 2 of the WilmerHale Executive Order never uses the term “national security,”

and instead only mentions the “national interest,” a term that is markedly broader than the “national

security interest” that serves as the touchstone of a security-clearance review. On the face of the

WilmerHale Executive Order, it therefore appears apparent and acknowledged that the directive in

Section 2 to suspend security clearances is not based on “national security.” I am aware of no

practice, examples, or guidance that permits the suspension, revocation, or denial of a security

clearance on any grounds other than national security grounds.

       50.     Neither is the WilmerHale Executive Order’s reference to Robert Mueller, James

Quarles, and Aaron Zebley remotely related to any “national security” risk supposedly posed by

WilmerHale. I understand that Mr. Mueller was appointed by the Department of Justice in the first

Trump Administration as special counsel to investigate allegations of foreign interference in the

2016 presidential election, and that WilmerHale had no role in his appointment or work as Special

Counsel. I understand that Mr. Zebley and Mr. Quarles worked with Mr. Mueller on this

investigation. I further understand that Messrs. Mueller, Quarles, and Zebley had no WilmerHale

affiliation whatsoever when they served in the Office of Special Counsel. There was no effort of

which I am aware to suspend, revoke, or deny any security clearance held by any WilmerHale

personnel for reasons related to Mr. Mueller’s work and report at the time that Messrs. Mueller,

Quarles, and Zebley were employed by the special counsel’s office, nor does the WilmerHale Order




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identify any newly discovered basis for doing so. If Mr. Mueller’s and his colleagues’ work was

not viewed as detrimental to “national security” during President Trump’s first term in office, it is

impossible to understand how that same activity could now serve as a “national security”

justification for immediate suspension of security clearances. In my experience, immediate

suspensions of security clearances based on a “national security” justification were based on newly

identified imminent threats that required delaying due process, as described above.

         51.    More fundamentally, the behavior that the WilmerHale Executive Order deems

problematic—attorneys representing clients in court—is not of the type that has ever in my

experience been deemed conduct relating to a “national security” interest.

         52.    It is further apparent that the WilmerHale Executive Order is not grounded in a

“national security” determination because Jeffrey Kessler, a recently departed WilmerHale partner,

was appointed and confirmed to serve as U.S. Commerce Under Secretary for Industry and

Security on March 13, 2025. See WilmerHale Congratulates Partner Jeffrey Kessler on His Senate

Confirmation as US Commerce Under Secretary for Industry and Security, WilmerHale (Mar. 14,

2025),         https://www.wilmerhale.com/en/insights/news/20250314-wilmerhale-congratulates-

partner-jeffrey-kessler-on-his-senate-confirmation-as-us-commerce-under-secretary-for-industry-

and-security. There cannot reasonably have been a national security emergency that justified the

immediate suspension of WilmerHale security clearances when a recently departed firm partner

was just entrusted to serve in the highest levels of government.

         53.    The lack of any national-security concerns here is still further underscored by the

fact that, as I understand from public reports, an Executive Order was issued on March 14, 2025

against another law firm (Paul Weiss) that similarly directed the immediate suspension of all

security clearances held by any firm employee, see Addressing Risks from Paul Weiss, The White




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House (Mar. 14 2025), https://www.whitehouse.gov/presidential-actions/2025/03/addressing-

risks-from-paul-weiss, only to be withdrawn within days following an agreement that provides for

the provision of pro bono services by Paul Weiss and certain other steps by that firm with no

mention of national security or national interest. There cannot reasonably have been a national

security emergency that justified the immediate suspension of security clearances but that was

remedied by Paul Weiss’s agreement to provide pro bono services.

       C.      Opinion 3: The WilmerHale Executive Order’s Directive Amounts To A
               Preordained Revocation Of Security Clearances Without Due Process.

       54.     While the WilmerHale Executive Order purports only to suspend clearances

pending review, the WilmerHale Executive Order and Fact Sheet together amount to a preordained

blanket revocation of security clearances without any of the required due process protections

associated with such revocation. That is, the WilmerHale Executive Order functionally plays the

role of judge, jury, and executioner.

       55.     In Section 2, the WilmerHale Executive Order directs all Federal agency heads to

“immediately … suspend any active security clearances held by individuals at WilmerHale” and

to “review … whether such clearances are consistent with the national interest.” It might therefore

seem, at first blush, that the WilmerHale Executive Order merely calls for an emergency

suspension, to be followed by appropriate due process, although there is no indication of what that

might look like, when it would occur, or when it must be concluded.     In any event, Section 1 of

the WilmerHale Executive Order contains express findings that any reviewing agency necessarily

must take as fact in conducting that review. Those findings include a statement that WilmerHale

has “abandoned the profession’s highest ideals and abused its pro bono practice to engage in

activities that undermine justice and the interests of the United States” and “employ[s] lawyers

who weaponize the prosecutorial power to upend the democratic process and distort justice.” The



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findings in Section 1 functionally predetermine the outcome, meaning that no good-faith and

impartial investigation could ever take place.

       56.     In light of the above directives in the WilmerHale Executive Order, the outcome of

any security clearance review is preordained.         For these suspensions to be reversed and the

affected individuals’ access to classified national security information to be reinstated would

require a professional adjudicator to make findings expressly contradictory to the findings in

Section 1 of the WilmerHale Executive Order. The approach of the WilmerHale Executive Order

is unprecedented and inconsistent with governing guidance and policy documentation.

       I declare under penalty of perjury that the foregoing is true and correct.




 Date: April 7, 2025
                                                   J. William Leonard




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